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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


 ROSEFERIN INVESTMENTS, LLC AND )
 DEBRA ROSE,                     )
                                 )
       Plaintiffs,               )
                                 )
       v.                        )        CASE NO: 1:19-cv-02581-JRS-TAB
 CLAYTON MORRIS,                 )
 MORRIS INVEST,                  )
 LLC, NICOLE MECKLEY, LINZI DEL  )
 CONTE,                          )        JURY DEMAND REQUESTED
 OCEANPOINTE INVESTMENTS         )
 LIMITED, OCEANPOINT INVESTMENTS)
 LLC, OCEANPOINTE INVESTMENTS aka )
 OCEANPOINTE                     )
 INVESTMENTS LTD aka OCEANPOINT )
 INVESTMENTS LIMITED aka         )
 OCEANPOINT HOLDINGS,            )
 LLC, OCEANPOINTE PROPERTY       )
 MANAGEMENT, LLC A/K/A           )
 OCEANPOINT PROPERTY             )
 MANAGEMENT, LLC, OCEAN POINT )
 PROPERTY MANAGEMENT, LLC AND )
 OCEAN POINTE PROPERTY           )
 MANAGEMENT, LLC, OCEANPOINT     )
 PROPERTIES LLC, A/K/A           )
 OCEANPOINTE PROPERTIES LLC,     )
 OCEAN POINT PROPERTIES LLC AND )
 OCEAN POINTE PROPERTIES LLC,    )
 OCEANPOINT HOLDINGS, LLC, A/K/A )
 OCEANPOINTE HOLDINGS LLC,       )
 OCEAN POINT HOLDINGS, LLC AND )
 OCEAN POINTE HOLDINGS, LLC, BERT)
 WHALEN, NATALIE BASTIN, INDY JAX )
 WEALTH HOLDINGS LLC, INDY       )
 JAX PROPERTIES LLC,             )
                                 )
       Defendants.               )
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                     SECOND AMENDED COMPLAINT FOR DAMAGES
         Plaintiffs, Roseferin Investments, LLC (“Roseferin”) and Debra Rose (“Rose” and

 collectively “Plaintiffs”), by counsel, for their Second Amended Complaint against Defendants,

 allege and state as follows:

                             JURISDICTION, VENUE AND PARTIES

         1.      This Court has original jurisdiction over this action under 28 U.S.C. 1332, which

  confers jurisdiction on the Court when the matter in controversy is over $75,000.00, and the

  parties are citizens of different states.

         2.      The amount in controversy, exclusive of interests and costs, in this case is over

  $75,000.00.

         3.      Plaintiff Roseferin Investments, LLC is a domestic limited liability company in the

  State of Indiana with its principal office located at 11715 Fox Road, Suite 400-107, Indianapolis,

  Indiana 46236.

         4.      Plaintiff is a single member Limited Liability Company registered to do business

  in the state of Indiana. However, the citizenship of an LLC, an unincorporated “artificial entity,”

  is determined by the citizenship of its members. Carden v. Arkoma Assocs., 494 U.S. 185, 195-

  96 (1990).

         5.      The sole member of Roseferin Investments, LLC is Debra Rose. Debra Rose is a

  citizen of the state of California.

         6.      Plaintiff Debra Rose is a citizen of the state of California.

         7.      Defendant Clayton Morris ("Clayton Morris") is a citizen of the state of New Jersey.

         8.      Defendant Morris Invest ("Morris Invest") is a limited liability company

 conducting and transacting in Marion County, Indiana with its principal office located at 100

 Charles Ewing Boulevard, Suite 160, Ewing, NJ 08628.

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        9.      Defendant Nicole Meckley ("Meckley") is a citizen of the State of New Jersey, and

 the Operators Manager, authorized agent, owner/operator of Morris Invest.

        10.     Defendant Linzi Del Conte ("Del Conte") is a citizen of the State of New Jersey

 and an authorized agent of Morris Invest, LLC.

        11.     Defendant Oceanpointe Investments Limited (collectively referred to as

 “Oceanpointe”) is a limited liability company conducting and transacting in Marion County with

 its principal office located at 11715 Fox Road, Suite 400-107, Indianapolis, IN 46236.

        12.     Defendant    Oceanpoint     Investments    LLC    (collectively    referred   to   as

 “Oceanpointe”) is a limited liability company conducting and transacting in Marion County with

 its principal office located at 12634 Shorevista Drive, Indianapolis, IN 46236.

        13.     Defendant Oceanpointe Investments a/k/a Oceanpointe Investments LTD a/k/a

 Oceanpointe Investments Limited a/k/a Oceanpoint Holdings, LLC (collectively referred to as

 "Oceanpointe") is a limited liability company conducting and transacting business in Marion

 County, Indiana with its principal office located at 11715 Fox Road, Suite 400-107, Indianapolis,

 IN 46236.

        14.     Defendant Oceanpointe Property Management, LLC, a/k/a Oceanpoint Property

 Management, LLC, Ocean Point Property Management, LLC and Ocean Pointe Property

 Management, LLC (collectively referred to as “Oceanpointe”), is a limited liability company

 conducting and transacting in Marion County with its principal office located at 5868 E. 71st

 Street, Suite E340, Indianapolis, IN 46220 and/or at 1775 N. Sherman Drive, Suite A, Indianapolis,

 IN 46220 and/or at 117815 Fox Road, Suite 400-107, Indianapolis, IN 46236.

        15.     Defendant Oceanpoint Properties LLC, a/k/a Oceanpointe Properties LLC, Ocean

 Point Properties LLC and Ocean Pointe Properties LLC (collectively referred to as "Oceanpointe")



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 is a limited liability company conducting and transacting in Marion County with its principal office

 located at 1775 N. Sherman Drive, Suite A, Indianapolis, IN 46220 and/or located at 11715 Fox

 Road, Suite 400-107, Indianapolis, IN 46236.

        16.     Defendant Oceanpoint Holdings, LLC, a/k/a Oceanpointe Holdings, LLC, Ocean

 Point Holdings, LLC and Ocean Pointe Holdings, LLC (collectively referred to as "Oceanpointe"),

 is a limited liability company conducting and transacting in Marion County with its principal office

 located at 8604 Allisonville Road, Suite 256, Indianapolis, IN 46250 and/or located at 11715 Fox

 Road, Suite 400-107, Indianapolis, IN 46236. Hereinafter all Oceanpoint and Indy Jax entities

 referenced in paragraphs 11-16 are collectively referred to as “Oceanpointe.”

        17.     Defendant Indy Jax Wealth Holdings LLC is a limited liability company conducting

 and transacting in Marion County with its principal office located at 11715 Fox Road, Suite 400-

 107, Indianapolis, IN 46236.

        18.     Defendant Indy Jax Properties LLC is a limited liability company conducting and

 transacting in Marion County with its principal office located at 11715 Fox Road, Suite 400-107,

 Indianapolis, IN 46236. Hereinafter all Oceanpoint and Indy Jax entities referenced in paragraphs

 12-19 are collectively referred to as Oceanpoint.

        19.     Defendant Bert Whalen ("Whalen") is a citizen of the State of Indiana and an

 authorized agent of Oceanpointe.

        20.     Defendant Natalie Bastin ("Bastin") is a citizen of the State of Indiana and an

 authorized agent of Oceanpointe.

        21.     Plaintiffs’ citizenship in the state of California is diverse from the citizenship of all

 named Defendants.




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         22.     Venue is proper within the Southern District of Indiana under 28 U.S.C. §

 1391(b)(2) because the events giving rise to the claim occurred in the district. The real property

 at issue is likewise located in this district.

                                                   FACTS

 The Investment Business
         1.      Morris Invest is an investment company that offers turn-key real estate investments

 claiming on its website that Morris Invest finds, fixes, fills and manages great properties while the

 investor sees amazing returns on their investment.

         2.      Morris Invest claims on its website that it has counseled hundreds of investors and

 these investors earn thousands of dollars in passive income each month.

         3.      Clayton Morris, in a verified pleading filed in Clayton Morris v. James Wise and

 The Holton-Wise Property Group, LLC, under Case No. 1:19-cv-02467-DCN, refers to Morris

 Invest as his “Investing Business”:




         4.      The services offered by Clayton Morris’s investment business, Morris Invest,

 include investment advice, identification of investments for purchase and management of those

 investments for a fee.

         5.      Clayton Morris promoted the Morris Invest real estate investment program through

 various marketing outlets and materials, including, but not limited to his websites, podcasts, and

 YouTube         videos.             See          www.claytonmorris.com,     www.morrisinvest.com,

 www.claytonmorris.com/podcast,



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 https://www.youtube.com/channel/UCoJhK5kMc4LjBKdiYrDtz1A/ (last accessed August 27,

 2020).

          6.    Morris Invest’s marketing materials claim that investors who invest in the program

 can realize a return on their investment through passive rental income in order to achieve financial

 freedom.

          7.    Morris Invest circulated additional marketing material promoting podcasts that

 read, among other things: “Investing in Real Estate has a laser focus on buy and hold rental

 properties in order to create passive income. Clayton shares tried and true methods for acquiring

 rental real estate, building net worth, and accelerating your financial freedom.”

          8.    Morris Invest regularly encouraged investors to visit their website and the website

 of Clayton. It was on this website that Plaintiffs were encouraged to purchase and read Clayton

 Morris’s book outlining a path to financial freedom. Plaintiffs purchase this book and the claim

 made therein was part of the reason Plaintiffs ultimately decided to invest in Morris Invest’s

 investment program.

          9.    The investment program offered by Morris Invest is described as a simple three

 stage real estate investment plan. First, once a potential investor is lured in by Morris Invest’s

 marketing efforts, a call is scheduled with the investor and the Morris Invest Team to discuss the

 investor’s investment and financial goals. Second, the Morris Invest Team provides potential

 investments the investor selects from based on the Morris Invest Team’s advice as to what

 investments would best suit the investor’s investment and financial goals. Third, the Morris

 Invest’s “expert” Team takes care of the rest from construction or rehabilitation of the properties,

 securing tenants, managing the property, collecting rents and paying the investor on a monthly

 basis.



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         10.       In this case, Plaintiffs were lured in by Morris Invest’s marketing efforts and

 booked a telephone call with Morris Invest’s Portfolio Manager, James Federico in November of

 2017.

 The Morris Invest Team

         11.       Morris Invest portrayed to investors that its investment team would handle

 everything in the investment process for the investor. During numerous emails and telephone

 calls, from late November of 2017 through January of 2018, with Clayton Morris, James Federico,

 Linzi Del Conte, and Nicole Meckley all stated to Plaintiffs that the benefit of investing with

 Morris Invest is that Plaintiffs did not have to do anything. The Morris Invest Team represented

 to Plaintiffs that they were in Indianapolis, “on the ground” making sure things got done right.

         12.       Morris Invest’s Team was comprised of an Operations Team, Property

 Management Team, Acquisitions Team and Violations Team.

         13.       The primary members of the Morris Invest Team lined up to handle Plaintiffs’

 investments in this case were Linzi Del Conte, the Transactions Coordinator, Nicole Meckley, the

 Operations Manager, James Federico, Portfolio Manager, Erika Thomas, Office Assistant and

 Natalie Bastin.

         14.       On December 5, 2017, Plaintiffs were informed that the Morris Invest Team would

 be sending them a welcome packet via email to get rolling with property management agreements

 and ACH deposits for rent roll as well as instructing that if and when they received a violation

 letter form Marion County they were to forward the letter by email to the Violations Team, all part

 of the Morris Investment Team involving Oceanpointe personnel too.




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        15.     On December 5, 2017, Linzi Del Conte emailed Plaintiffs letting them know that

 she and Nicole Meckley would be the ones on the Morris Invest Team to work with on everything

 in this turn-key investment program.

        16.     On December 5, 2017, Nicole Meckley indicated to Plaintiffs that the Morris Invest

 Team was looking “forward to helping you create long term legacy wealth!”

        17.     In the sales and onboarding phase of the investment process, the Morris Invest

 Team never mentioned that Oceanpointe personnel were not part of the Morris Invest Team or

 were working for separate or distinct entities. To the contrary, the Morris Invest Team represented

 to the Plaintiffs that they were all working together on the same Team and that Morris Invest was

 one and the same as Oceanpointe for purposes of investment process.

        18.     The Morris Invest Team members communicated with Plaintiffs primarily via

 email. The disclaimer at the end of the Team members’ emails indicated the “official business”

 being conducted by Defendants was that of Morris Invest and Oceanpointe:




 Plaintiffs Invest In The Program

        19.     On or about November of 2017, Plaintiffs shared with the Morris Invest Team that

 her investment goals were to buy a property with the funds from her 401k. Plaintiffs conveyed

 that she was looking for monthly income to supplement her retirement income and planned to

 accomplish that goal with the rental funds generated each month. Plaintiff also shared that she

 intended to leave the property to her son after her passing as a gift of wealth to her posterity.



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        20.     On or about November of 2017 the Morris Invest Team (specifically James

 Federico), assured Plaintiffs that Plaintiffs’ investment and financial goals were in line with what

 Morris Invest could accomplish and represented to Plaintiffs that Mr. Morris’ clients were

 accomplishing the exact same goals right now.

        21.     After discussing Plaintiffs’ investment objectives, on or around the end of

 November 2017, Mr. Morris and James Federico advised their clients, via telephone conference

 that in order to meet Plaintiffs’ financial goals, they recommended Plaintiffs invest in a new

 construction property and advised Plaintiffs to take money from their retirement account to invest

 in this program.

        22.     To entice Plaintiffs to invest, Morris Invest staff represented to Plaintiffs that

 purchasing a property was on a “first come, first serve” basis in order to create a sense of urgency

 to invest in the program and if Plaintiffs didn’t act quickly, the opportunity would be lost.

        23.     Plaintiffs were directed to Clayton Morris’s website, along with numerous

 communications via telephone in the Fall, 2017 with Linzi Del Conte, James Federico, Nicole

 Meckley, and Ericka Thomas all of which represented to Plaintiffs that Morris Invest’s investment

 program was truly a turn-key investment and that he and the Morris Invest Team had done all of

 the hard work and Plaintiffs need not do anything.

        24.     On or about December 5, 2017, Linzi Del Conte emailed Plaintiffs stating, “Nicole

 our Operations Manager and myself will be taking you through the rest of the closing process. We

 will connect you to our title team and will help you connect with our insurance team as well!”

        25.     On or about December 15, 2017, Ericka Thomas emailed Plaintiffs stating, “We are

 here to help and make this process as hands off and easy for you as possible.”




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         26.     Plaintiffs regularly received emails from Morris Invest recommending Plaintiffs

  watch promotional and educational videos. These videos walked Plaintiffs through the investment

  process and touted the possible easy returns on the ‘turn-key’ investment.

  The Morris Invest Team Takes Plaintiffs Through The Investment Process

         27.     On or about December 5, 2017 Linzi Del Conte sent Plaintiffs the purchase

  agreement for the new construction on 3037 Station Street, Indianapolis, Indiana 46218 Property.

  See Exhibit “A.”

         28.     Mr. Morris signed the purchase agreement for the property located at 3037 Station

  that the Morris Invest Team advised Plaintiffs to purchase.

         29.     As part of the process, Morris Invest provided its investors with a “Step by Step

  Guide to Purchasing Your Rental Property with Morris Invest in Indiana” that described the

  program within two pages.

         30.     This guide was emailed to Plaintiffs by Linzi Del Conte of Morris Invest, which

  outlined every step from being matched with a property, signing a purchase agreement, working

  with Morris Invest’s teammate at the title company to close on the property, working with Morris

  Invest’s teammate to insure the property, guiding them through setting up a LLC and instructing

  Plaintiffs to “put down our property manager’s name as the ‘registered agent.’ Here’s her info:

  Natalie Bastin.” Ms. Bastin’s email address reflected an Oceanpointe address, but at all times it

  was represented to Plaintiffs as being on the Morris Invest Team providing turn-key investment

  services.

         31.     On December 5, 2017, Nicole Meckley emailed Plaintiffs stating Morris Invest

  recommended they provide the Property Manager’s Address as their tax mailing address so that if

  the county should send out a notice (i.e., lawn violation), it would be sent directly to the Team and



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  they “get on it right away to avoid any fines.” “If they were to send it to you and then you have to

  notify them, it may be too late and fines will be incurred. Best to keep everything local. Here is

  the address: 11715 Fox Road, Set. 400-107, Indianapolis, IN 46236. The email address that will

  be used is: info@morrisinvest.com. This is used simply to avoid multiple third party spam from

  filling up your personal email inbox.”

         32.     Morris Invest made it clear to Plaintiffs that Morris Invest did not want them

  communicating with anyone in the process outside of the Morris Invest Team and in particular the

  Operations Manager and Transaction Coordinator. If Plaintiffs wanted to talk with the title

  company, they were directed to the Morris Invest Team. If the Plaintiffs wanted to talk with the

  builder, they were directed to the Morris Invest Team.

         33.     The Morris Invest Team intentionally and deliberately created a divide between the

  Plaintiffs and anyone outside of the Team. The Morris Invest Team explained this was necessary

  in order to create a turn-key process for the benefit of the investor, but the isolation of contact and

  deprivation of information was really in place so that the Morris Invest Team could conceal from

  Plaintiffs that the investment sold to them was not as it was represented to them and the services

  that they promised to deliver in exchange for the investment were not being delivered as promised.

         34.     On December 13, 2017, Plaintiffs paid into the investment program and closed on

  their investment property with cash withdrawn from Plaintiff’s retirement funds.

         35.     The Indiana Sales Disclosure Form states that the Seller of the property was

  Oceanpointe Investments. Plaintiffs were under the impression as formed by Morris Invest’s

  communications that Morris Invest and Oceanpointe were companies owned and operated by

  Clayton Morris. So, even though Oceanpointe is designated as the seller on the closing paperwork




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  for the property, there would be no reason for Plaintiffs to think that they were not dealing with

  the Morris Invest Team exclusively as they had been told and instructed to do.

         36.     At no time did the Morris Invest Team reveal to Plaintiffs that Plaintiffs were

  purchasing from any entity that was not a Morris Invest entity. Instead, at every step of the process,

  Plaintiffs were led to believe Plaintiffs were dealing directly and exclusively with Morris Invest

  and the Morris Invest Team members.

         37.     Although the Morris Defendants now claim that they had no involvement with

  Oceanpointe and the other entities listed above, that’s not what they told other investors, including

  Plaintiffs, throughout the entire process:




  The Construction Timeline

         38.     After not hearing anything from the Morris Invest Team for months, Plaintiffs

  began to inquire in March of 2018 as to the construction timeline.

         39.     Considering that Plaintiffs were investing a large portion of retirement funds in the

  Morris Invest program, Plaintiffs wanted assurances that construction was proceeding.

         40.     On March 20, 2018 in an email from Linzi Del Conte, Plaintiffs were informed that

  “I have just been updated by my builder that your permits have been approved and your property



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  has broken ground! Your property is currently in the excavation phase……..I will be able to send

  you updates at your project starts to move!” This statement was not true at the time that it was

  made.

          41.    In May, 2018, Clayton Morris by telephone communicated with Plaintiffs relating

  what he called good news that construction was finally moving forward because a funding problem

  had been corrected. This statement was not true when it was made. Construction was not moving

  forward on Plaintiffs’ investment property.

          42.    During this same call in which Clayton Morris misrepresented that construction

  was moving forward on Plaintiffs’ Indiana property, he sold Plaintiffs another investment property

  in Ohio for an additional $38,000. Had Plaintiffs known that Clayton was concealing the problems

  with the investment in Indiana, Plaintiffs would not have purchase an additional property in Ohio.

          43.    In May, 2018, James Federico communicated with Plaintiffs and for the first time

  informed Plaintiffs that there may be a problem with the investment in Indiana. James indicated

  that Morris Invest did not know if Plaintiffs investment was affected or not, but this was not true.

  The Morris Invest Team had known for months that the money invested by Plaintiffs was not used

  being used for construction as was presented to Plaintiffs.

          44.    Also for the first time in May, 2018 James Federico informed Plaintiffs that they

  needed to communicate with people outside of the Morris Invest Team regarding Plaintiffs’

  investment. Federico told Plaintiffs that the “next step is to get the property assessed. You can

  reach out to Charlie the builder at charlie@wairegroup.com. Oceanpointe was the company that

  received all funds for properties that were sold by them or Indy Jax as soon on closing docs.”

          45.    This revelation was contrary to the numerous communications from the Morris

  Invest Team since Fall, 2017 that Plaintiffs were investing with Morris Invest and that the



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  investment program was turn-key such that Plaintiffs were to rely on Morris Invest for everything.

  The Morris Invest Team represented that personnel from Oceanpointe were part of the Morris

  Invest Team and that Morris Invest and Oceanpointe were one and the same. On numerous

  occasions, the Morris Invest Team prevented or discouraged Plaintiffs’ communication with

  anyone not on the Morris Invest Team about any part of the investment process, including the

  builder, whom Plaintiffs sought to communicate with directly.

         46.     The Morris Invest Team’s failure to timely reveal that Plaintiffs would be dealing

  directly with or buying from Oceanpointe, which Morris Invest now claimed was not owned by or

  affiliated with Morris Invest, deprived Plaintiffs any opportunity to research Oceanpointe or its

  principal Bert Whalen.

         47.     Had Plaintiffs known that they were investing with someone other than Morris

  Invest, namely Bert Whalen, Plaintiffs would have had the opportunity to research Whalen and

  discover his financial and criminal history. A simple internet search would have revealed that on

  December 18, 2017, an Order was issued by an Administrative Law Judge Panel finding that Mr.

  Whalen had six criminal convictions from July 17, 1998 through February 22, 2012. Mr. Whalen

  was found to have committed fraud when renewing his real estate license by not providing truthful

  responses disclosing these criminal convictions within his renewal application. Also, research

  would have revealed that Whalen had handled property management services for American

  Pension Services, Inc. (“APS”) and was taking rent monies and depositing into a non-trust account

  and not remitting payments to APS. Whalen’s real estate license was permanently revoked in

  Indiana. Research would have also revealed foreclosures, judgment liens and bankruptcy on

  Whalen’s record. All of this information directly bears on his trustworthiness with respect to

  handling financial responsibility.



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         48.     The Morris Invest Team’s concealment of this information contributed to the

  ultimate loss of Plaintiffs’ investment. Had Plaintiffs not been led to believe that they were dealing

  only with Morris Invest, but rather with Bert Whalen, Plaintiffs would not have invested their

  retirement savings in Morris Invest’s investment program.

         49.     Upon information and belief, Plaintiffs have come to learn that construction was

  not proceeding as reported because the builder was not given all of the money that Plaintiffs had

  invested to complete the work. The money invested by Plaintiffs had been pooled with other

  investors’ money and not earmarked for Plaintiffs’ construction. Plaintiffs’ investment was not

  allocated as the Morris Invest Team had represented to Plaintiffs.

         50.     The Morris Invest Team’s systematic concealment of the failures to complete the

  investment services that were promised, including the construction services, contributed to the

  ultimate loss of Plaintiffs’ investment because it deprived Plaintiffs the opportunity to investigate

  what was going on and mitigate damages that mounted over the course of the many months the

  properties sat vacant with no working being one and violations from the City being issued.

            COUNT I: VIOLATION OF INDIANA UNIFORM SECURITIES ACT

         51.     Plaintiffs incorporate by reference the foregoing paragraphs of this Second

  Amended Complaint, as if fully restated herein.

         52.     Morris Invest, Clayton Morris and James Federico did offer or sell securities to

  Plaintiffs in the form of investment real estate with a promise of a return on funds used to purchase

  the real estate, without registering said securities under the Indiana Uniform Securities Act (the

  “Act”). Said securities were neither exempt from registration under the Act, nor were said

  securities federally covered securities as defined in the Act.




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         53.     Morris Invest, Clayton Morris and James Federico knowingly acted and transacted

  business as investment advisers, investment adviser representatives and/or agents as those terms

  are defined under the Act, in their offer and sale of the real estate investment and received

  compensation without being registered with the Indiana Securities Division, as required by law,

  and without being exempt from registration under the Act.

         WHEREFORE, Plaintiffs, Roseferin Investment, LLC and Debra Rose, by counsel, request

  judgment in their favor, in an amount necessary to compensate Plaintiffs for all actual and other

  damages, to be determined at trial, together with attorney’s fees, costs and for all other relief just

  and proper in the premises.

               COUNT II: ALTERNATIVE CLAIMS FOR DECEPTIVE ACTS INVOLVED
               IN THE PROMOTION AND SALE OF INVESTMENT TO PLAINTIFFS


         54.     Plaintiffs incorporate by reference the foregoing paragraphs of this Second

  Amended Complaint, as if fully restated herein.

         55.     Pursuant to Federal Rule of Civil Procedure 8(d)(2), Plaintiffs plead claims in the

  alternative resulting from the deceptive acts of Morris Invest, Clayton Morris, and James Federico

  in the promotion and sale of the investment to Plaintiffs pursuant to the Indiana Uniform Securities

  Act, Indiana Code § 35-43-5-3 (Deception),1 and a theory of fraud in the inducement.


  1
    Based upon an unknown number of complaints from other investors, the Indiana Attorney
  General filed a Complaint based on the same operative facts as alleged in this case. See State of
  Indiana v. Oceanpointe Investments LLC, Oceanpointe Investments Limited, JP Anderson Realty
  Group d/b/a Oceanpoint Property Management, Indy Jax Properties, LLC, Indy Jax Wealth
  Holdings, LLC, Morris Invest, LLC, Blue Sky Property Management, LLC, Clayton Morris,
  Natalie Bastin and Bert Whalen, Cause No. 49D06-2005-PL-015069. The State alleges claims for
  violations of the Indiana Deceptive Consumer Sales Act. As there is some question as to whether
  Plaintiffs are consumers as defined by that statute, Plaintiffs are reluctant to plead similar claims
  even though the operative facts are nearly identical in both actions. Even if Plaintiffs are not
  consumers, the sales practices used by Defendants were nevertheless deceptive as pled herein.


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         56.       In the sales process, Morris Invest, Clayton Morris and James Federico

  misrepresented to Plaintiffs that hundreds of clients of Morris Invest earned thousands of dollars

  in passive income each month as a means of enticing Plaintiffs to invest with them. These

  representations were not true at the time they were made.

         57.       To entice Plaintiffs to invest, Clayton Morris represented to Plaintiffs that renters

  were lined up ready to rent Plaintiffs’ properties, but that was not true.

         58.       To entice Plaintiffs to invest in the Ohio investment, Clayton Morris represented

  that there were no problems with the Indiana investment, but that was not true.

         59.       Had Plaintiffs known that the representations these Defendants made to entice them

  to invest, were not true at the time that they were made, Plaintiffs would not have invested with

  Morris Invest.

         60.       Plaintiffs were led to believe they were investing in a turn-key program where

  profits would be generated solely by the efforts of these Defendants.

         61.       These Defendants persuaded Plaintiffs to purchase properties that they advised

  were matched to Plaintiffs’ financial goals to achieve the profits that Defendants set out for

  Plaintiffs. These properties were vacant lots sold for amounts far mor than they were worth

  because these Defendants convinced Plaintiffs that they were buying not just property, but a turn-

  key investment system. However, the system that they were selling was not tried and true or

  proven as these Defendants represented.

         62.       Morris Invest, Clayton Morris and James Federico led Plaintiffs to believe that

  Plaintiffs were dealing directly and exclusively with Morris Invest and the Morris Invest Team

  members.




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         63.       In the investment process, representations were made that Oceanpointe was one of

  Morris Invest’s affiliated companies and part of the Morris Invest Team.

         64.       Prior to Plaintiffs paying their money into the program, these Defendants made it

  clear to Plaintiffs that they were not to be communicating with anyone about the investment

  process outside of the Morris Invest Team. This prevented Plaintiffs from learning Defendants’

  affiliation with Oceanpointe and Bert Whalen. Had Plaintiffs known that Whalen or his affiliates

  were involved in the investment process, they would not have invested their retirement savings

  given Whalen’s long history of committing financial crimes against others.

         65.       The Defendants concealed that Plaintiffs were purchasing properties from

  Oceanpointe, a company that now they allege was not affiliated with Morris Invest despite prior

  assurances that they were one in the same.

         66.       Based on representations made by and concealment of the truths known to these

  Defendants , Plaintiffs entered into an investment contract with Morris Invest, Clayton Morris and

  James Federico enticed by the specific representations made that their investment relationship with

  these Defendants would include investment advice and counsel regarding how to accomplish

  Plaintiffs’ financial goals, recommendations on suitable properties that would fit with Plaintiffs’

  financial objectives, construction and property management services, manage tenants and provide

  rental income.

         67.       Defendants did not deliver the investment that they represented to Plaintiffs. With

  the requisite intent, Defendants misrepresented the identity of the persons and entities with whom

  Plaintiffs were investing, they misrepresented the results the claimed their other clients had

  achieved through communications with and advertisements given to Plaintiffs, which were false,




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  misleading and deceptive in that they did not reveal material facts to Plaintiffs with the intent to

  promote the sale of the investment.

         68.     In reliance on Defendants’ representations and without knowing of the truths

  Defendants actively concealed, Plaintiffs made their investment of with the reasonable expectation

  of realizing the profits from the services Defendants represented they were providing.

         69.     These profits were to come from Defendants’ efforts of building or rehabbing the

  properties, marketing to tenants, managing the properties and generating passive rental income as

  they described in their “turn-key” real estate investment program.

         70.     Plaintiffs purchased more than a fee simple interest in the real estate that they

  bought. They also invested in Defendants’ management services as well as advice.

         71.     Plaintiffs did not reside in Indianapolis but rather far away and relied solely on

  Defendants’ representations as to the real estate investment market in Indianapolis, the progress of

  completion on the properties as well as management services performed on the properties.

         72.     Plaintiffs lacked the equipment and the experience to build or rehabilitate these

  properties as well as the ability to market and manage the properties in the Indianapolis area.

         73.     Defendants knowingly or with reckless ignorance of their falsity, made material

  misrepresentations of past or existing facts, which representations were false and made with the

  intent to deceive Plaintiffs in efforts to sell their investment program.

         74.     Plaintiffs rightfully relied Defendants’ representations and have suffered loss due

  to Defendants’ misrepresentations and concealment.

         WHEREFORE, Plaintiffs, Roseferin Investment, LLC and Debra Rose, by counsel, request

  judgment in their favor, in an amount necessary to compensate Plaintiffs for all actual and other




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  damages, to be determined at trial, together with attorney’s fees, costs and for all other relief just

  and proper in the premises.

               COUNT III: ALTERNATIVE CLAIMS FOR FAILURE TO PROVIDE
               PROMISED SERVICES AND CONCEALMENT OF SUCH FAILURE


         75.     Plaintiffs incorporate by reference the foregoing paragraphs of this Second

  Amended Complaint, as if fully restated herein.

         76.     Pursuant to Federal Rule of Civil Procedure 8(d)(2), Plaintiffs plead claims in the

  alternative resulting from the failure to perform promised services and the concealment of such

  failure against Morris Invest, Clayton Morris, James Federico, Linze Del Conte, Nicole Meckley,

  Bert Whalen and Natalie Bastin pursuant to promissory estoppel, unjust enrichment and contract

  theories.

         77.     Plaintiffs entered into agreements, both written and oral, with Defendants.

         78.     Defendants breached these agreements.

         79.     Defendants failed or refused to perform the turn-key investment services that they

  promised to perform as enticement for Plaintiffs investing with them.

         80.     In repeated phone calls and email correspondence with Plaintiffs, Defendants

  misrepresented that services had been completed that were not completed.

         81.     Defendants consistently represented that their failures would be remedied, all the

  while knowing that the services paid for by Plaintiffs were not being provided, nor were going to

  be provided.

         82.     The affirmative acts of concealment by Defendants were calculated to mislead and

  hinder Plaintiffs from obtaining the truth despite their many inquiries.




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         83.      Defendants knowingly concealed their failures to provide these services through

  careful communications and false reassurances that tasks were progressing.

         84.      Defendants affiliated with the Morris Invest Team knew or should have known that

  the truth was being concealed from Plaintiffs.

         85.      Defendants have benefitted by Plaintiffs’ investment by failing to perform as

  promised and as compensated.

         86.      As a result of Plaintiffs’ reliance upon said promises, Plaintiffs have incurred

  damages, including loss of Plaintiffs’ investment, additional fines and losses to the property, as

  well deprivation of the opportunity to mitigate such damages caused by Defendants’ active

  concealment.

         87.      Injustice can be avoided only by enforcing Defendants’ promises under the legal

  theories pled herein.

         WHEREFORE, Plaintiffs Roseferin Investment, LLC and Debra Rose, by counsel, pray

  for judgment in their favor in an amount necessary to compensate Plaintiffs for all damages, to be

  determined at trial, together with attorney’s fees, costs and for all other relief just and proper in

  the premises.



                                                        Respectfully submitted,

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                                                     Counsel for Plaintiffs




                                        JURY DEMAND

         Plaintiffs, Roseferin Investments, LLC and Debra Rose demands a trial by jury on all

  issues in the foregoing Second Amended Complaint so triable.

                                                     Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

          That undersigned certifies that on August 28, 2020, the foregoing has been filed with the
  Clerk of the Court by using the CM/ECF system. Notice of this filing has been sent to the
  following counsel by operation of the Court’s electronic filing system and by U.S. First Class Mail
  for those parties not registered. Parties may access this filing through the Court’s system.

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   LLC, Ocean Point Property Management,            and Ocean Pointe Properties LLC
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